        Case 2:19-cv-02702-VAP-JEM Document 5 Filed 04/09/19 Page 1 of 2 Page ID #:41
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                         REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                               FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                                ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                     TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                    Central District of California                            on the following
      ✔ Trademarks or
      G                       G Patents.     (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                         U.S. DISTRICT COURT
      2:19-cv-02702                        April 9, 2019                                      Central District of California
PLAINTIFF                                                                     DEFENDANT
 Patagonia, Inc. and Patagonia Provisions, Inc.                                 Anheuser-Busch, LLC d/b/a Patagonia Brewing Co.



        PATENT OR                      DATE OF PATENT
                                                                                         HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 1189402                              February 9, 1982                 Patagonia, Inc.

2 1294523                            September 11, 1984                 Patagonia, Inc.

3 1547469                                July 11, 1989                  Patagonia, Inc.

4 1775623                                June 8, 1993                   Patagonia, Inc.

5 1811334                            December 14, 1993                  Patagonia, Inc.


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                          G
                                                     Amendment                   G   Answer          G   Cross Bill      ✔
                                                                                                                         G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                         HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 2260188                                July 13, 1999                  Patagonia, Inc.

2 2392685                              October 10, 2000                 Patagonia, Inc.

3 2262619                            December 17, 2002                  Patagonia, Inc.

4 4894914                              February 2, 2012                 Patagonia Provisions, Inc.

5 4168329                                  July 3, 2012                 Patagonia Provisions, Inc.

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                         (BY) DEPUTY CLERK                                           DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
Case 2:19-cv-02702-VAP-JEM Document 5 Filed 04/09/19 Page 2 of 2 Page ID #:42



                                      Attachment to
                                REPORT ON THE
                        FILING OR DETERMINATION OF AN
                   ACTION REGARDING A PATENT OR TRADEMARK

                     Patagonia, Inc. and Patagonia Provisions, Inc.
                                          vs.
                   Anheuser‐Busch, LLC d/b/a Patagonia Brewing Co.

                United States District Court, Central District of California
                                Case No. 2:19‐cv‐02702



    PATENT OR         DATE OF PATENT
                                                    HOLDER OF PATENT OR TRADEMARK
   TRADEMARK          OR TRADEMARK

     4786172            August 4, 2015                   Patagonia Provisions, Inc.

     4795759           August 18, 2015                   Patagonia Provisions, Inc.

     4809079          September 8, 2015                  Patagonia Provisions, Inc.

     4822430         September 29, 2015                  Patagonia Provisions, Inc.

     4917049           March 15, 2016                    Patagonia Provisions, Inc.

     4791042           August 11, 2015                   Patagonia Provisions, Inc.
